                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)

TORRAY BAYLOR, et al.,                           *

       Plaintiffs, on behalf of themselves       *           Civil Action No. 1:19-cv-1195-RDB
       and others similarly situated,
                                                 *
       v.
                                                 *
HOMEFIX CUSTOM REMODELING,
CORPORATION, et al.,
                                                 *
       Defendants.
                                                 *


    JOINT MOTION FOR APPROVAL OF PRELIMINARY SCHEDULING ORDER


The Parties, through counsel, seek an order approving a preliminary scheduling order. In support

of their motion, the Parties state as follows:

   1. Plaintiffs filed their collective and class complaint, asserting federal and state wage claims

       and a race discrimination claim, on April 24, 2019. ECF 1.

   2. On May 6, 2019, Plaintiffs moved to conditionally certify their FLSA claims as a collective

       action. ECF 3.

   3. On June 19, 2019, Defendants filed their Answer and their Partial Motion to Dismiss,

       seeking to dismiss Plaintiffs’ race discrimination claim. ECF 14, 15. They filed their

       opposition to Plaintiffs’ motion for conditional certification on June 28, 2019. ECF 18.

   4. Thereafter, Plaintiffs filed an amended complaint, and subsequently a second amended

       complaint. ECF 19, 37. Defendants filed a second partial motion to dismiss and Answers

       to each the first and second amended complaint. ECF 26, 27, 41. As of February 13, 2020,

       all pleadings had been filed and briefing had been completed on the conditional
        certification motion and motion to dismiss.

   5. On March 6, 2020, the Court denied Defendants’ motion to dismiss, and granted Plaintiffs’

        motion for conditional certification in part, directing the Parties to submit an agreed-upon

        collective action notice within seven days. ECF 38, 39. The Parties filed their proposed

        notice on March 13, 2020, and the Court approved it on March 24, 2020. ECF 42 and 43.

   6. The Parties now jointly seek approval to commence discovery and the dissemination of

        collective action notice on April 1, 2020. They also seek permission to file a proposed

        scheduling order, setting forth the close of discovery and relevant motion deadlines after

        the closure of the notice period to allow for time to determine the extent of discovery that

        will be necessary in light of the size of the opt-in class.

   7. Thus, the Parties seek approval of the preliminary scheduling order proposed below.



 Date                                                  Event

 April 1, 2020                                         Discovery Begins; Beginning of Notice
                                                       Period

 June 30, 2020                                         Close of Notice Period

 July 6, 2020                                          Submission of status report and proposed
                                                       revised scheduling order

Respectfully submitted:


        /s/                                                    /s/
Monisha Cherayil (Federal Bar No. 18822)            Yedidyah Charner (Federal Bar No.
Sally Dworak-Fisher (Federal Bar. No. 27321)         Emmett F. McGee (Federal Bar No.
THE PUBLIC JUSTICE CENTER                           JACKSON LEWIS P.C.
One North Charles Street, Suite 200                 2800 Quarry Lake Drive, Suite 200
Baltimore, MD 21201                                 Baltimore, MD 21209
Tel: (410) 625-9409                                 Tel: (410) 415-2000
Fax: (410) 625-9423                                 Fax: (410) 415-2001
cherayilm@publicjustice.org                         jed.charner@jacksonlewis.com


                                                   2
dworak-fishers@publicjustice.org           Emmett.mcgee@jacksonlewis.com


Mark Hanna (Federal Bar No. 16031)        Attorneys for Defendants
Roseann R. Romano (Federal Bar No. 19843)
Adam Breihan (Federal Bar No. 21183)
MURPHY ANDERSON PLLC
1401 K Street NW, Suite 300
Washington, DC 20005
Phone: (202) 223-2620
Fax: (202) 296-9600
mhanna@murphypllc.com
rromano@murphypllc.com
abreiahn@murphypllc.com


Daniel A. Katz (Federal Bar No. 13026)
Joanna Wasik (Federal Bar No. 21063)
Hannah E. M. Lieberman (Federal Bar No. 05456)
WASHINGTON LAWYERS’ COMMITTEE FOR CIVIL RIGHTS AND URBAN AFFAIRS
11 Dupont Circle NW, Suite 400
Washington, DC 20036
Phone: (202) 319-1000 ext. 135
Fax: (202) 319-1010
Daniel_Katz@washlaw.org
Joanna_Wasik@washlaw.org
Hannah_Lieberman@washlaw.org


Attorneys for Plaintiffs




                                           3
